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                                                #401


                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                            )
                                                     )
          Plaintiff,                                 )
                                                     )
          v.                                         )        01-cr-40017-JPG
                                                     )
TERRANCE E. BLALOCK,                                 )
                                                     )
          Defendant.                                 )

                                       MEMORANDUM AND ORDER

          This matter comes before the Court on defendant’s pro se Supplement to Motion for Retroactive

Application of Sentencing Guidelines to Crack Cocaine Offense (Doc. 390).

          The Court appointed counsel for defendant on March 4, 2008. As such the defendant is represented

by the Federal Public Defender. “The right to representation by counsel and self-representation are mutually

exclusive.” Cain v. Peters, 972 F.2d 748, 750 (7th Cir.1992). So-called “hybrid representation” confuses

and extends matters at trial and in other proceedings and, therefore, it is forbidden. See United States v.

Oreye, 263 F.3d 669, 672-73 (7th Cir.2001).

          In this case, the defendant has been granted representation by the Federal Public Defender. He is

free to consult with his attorney in order to ensure that the Court is fully informed as to the specifics of his

case and in order to ensure that the appropriate motions are filed. However, the Court will strike pro se

motions by the defendant so long as he is represented by counsel.

          Therefore, the Court ORDERS the defendant’s pro se motion (Doc. 390) be STRICKEN from the

record.



IT IS SO ORDERED.
Dated: March 14, 2008
                                                              s/ J. Phil Gilbert
                                                              J. PHIL GILBERT
                                                              U.S. District Judge
